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 1   C. EMMETT MAHLE, SB#121931
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 2   Sacramento, CA 95814
     (916) 447-1646
 3
     Attorney for Defendant
 4   BRANDON D. DEAN
 5

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 8                                IN THE UNITED STATES DISTRICT COURT
 9                         IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             Case No.: 2:06-cr-0494-MCE
12                   Plaintiff,                            WAIVER OF DEFENDANT’S APPEARANCE;
13           vs.                                           ORDER
14   BRANDON D. DEAN,
15                   Defendant
16

17

18           Defendant BRANDON DEAN hereby waives his right to be present in open court upon the
19   hearing of any motion or other proceeding in this cause, including, but not limited to, when the case is
20   ordered set for trial, when a continuance is ordered, and when any other action is taken by the court
21   before or after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
22   Defendant hereby requests the court to proceed during each every absence of his which the court may
23   permit pursuant to this waiver; agrees that his interest will be deemed represented at all times by the
24   presence of his attorney, the same as if the defendant were personally present; and further agrees to be
25   present in court ready for trial any day and hour the court may fix in his absence.
26   //
27   //
28   //




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 1           Defendant further acknowledges that he has been informed of his rights under Title 18 U.S.C.
 2   Section 3161-3174 (Speedy Trial Act), and has authorized his attorney to set times and delays under the
 3   provisions of that act without the defendant being present.
 4

 5   Dated: February 27, 2007                                  _____________/s/____________
                                                               BRANDON D. DEAN
 6                                                             Client
 7   Dated: February 27, 2007                                  _____________/s/____________
                                                               C. EMMETT MAHLE
 8                                                             Attorney for Brandon D. Dean
 9

10                                                   ORDER
11           The Court, having read and considered the “Waiver of Appearance”, and finding good
12   cause therefore, such waiver is accepted by the Court.
13

14   IT IS ORDERED
15   DATED: March 5, 2007
16
                                                  __________________________________
17                                                MORRISON C. ENGLAND, JR
                                                  UNITED STATES DISTRICT JUDGE
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